Case 2:03-CV-02742-SHI\/|-STA Document 44 Filed 07/19/05 Page 1 of 2 Pag |D 57

 

IN THE UNITED STATES DISTRICT COURT F|LED BY ;F' l
FOR THE WESTERN DISTRICT OF TENNESSEE was JUL 19 FH lz. l3

WESTERN DIVISION
HOME DESIGN SERVICES, INC., ) CLEK U§M:§!S'r:i, nom mr
. . ) OF.NI~EQH'S 0
Plamtlffs, )
)
v. ) NO. 03-2742 Ma/Au
)
GREAT AMERICAN HOMES OF )
MEMPHIS, LLC, et al., )
)
Defendants. )

 

ORDER GRANTING MOTION TO COMPEL

 

Before the Court is Plaintiff’s Motion to Compel Discovery and For Sanctions filed on
July l, 2005. On July 6, 2005, Defendants responded to the Motion to Compel and stated that
Defendants had faxed a copy of the requested discovery responses to Plaintiff. Defendants also
stated that they would be mailing a signed copy of the discovery responses to Plaintiff during the
Week of July ll, 2005. Therefore, for good cause shown, the Motion to Compel is GRANTED.
Defendants shall provide complete responses to Plaintiff’s discovery responses Within 7 days of

entry of this Order, if they have not already done so.

IT IS SO ORDERED.
//

s. THOMAS ANDE`R§oN
UNITED sTATEs MAGISTRATE JUDGE

Date: wa@` /X. 200(
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Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:03-CV-02742 Was distributed by faX, mail, or direct printing on
.luly 20, 2005 to the parties listed.

 

 

Robert L. Moore

HEATON & MOORE, P.C.
100 N. l\/lain St.

Ste. 3400

l\/lemphis7 TN 38103

J on D. Parrish

PARRISH WHITE & LAWHON, PA
343l Pine Ridge Rd.

Ste. l 0 l

Naples7 FL 34109

Floyd S. Yarnell

PARRISH WHITE & LAWHON, PA
343l Pine Ridge Rd.

Ste. l 0 l

Naples7 FL 34109

Jason R. Maughan

PARRISH WHITE & LAWHON, PA
343l Pine Ridge Rd.

Ste. l 0 l

Naples7 FL 34109

Honorable Samuel Mays
US DISTRICT COURT

